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 12
                          UNITED STATES DISTRICT COURT
 13
 14                     CENTRAL DISTRICT OF CALIFORNIA

 15   ALS SCAN, INC., a Maryland                     Case No.: 2:16-cv-05051-GW-AFM
      corporation,                                   PLAINTIFF’S BRIEF ON
 16
                                                     VENTURA CONTENT V.
 17               Plaintiff,                         MOTHERLESS
 18                                                  Date: March 26, 2018
         vs.                                         Time: 8:30 a.m.
 19
                                                     Place: Courtroom 9D
 20   CLOUDFLARE, INC., a Delaware                          350 W. 1st Street
      corporation, et al.,                                  Los Angeles, CA
 21
 22                Defendants.
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                                 ALS Brief on Ventura v. Motherless
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  1         Ventura Content v. Motherless, Inc., No. 13-56332 (9th Cir. 3/14/18)
  2   turned on the unique facts of the case and is of no help to Defendant Steadfast
  3   Inc. On the other hand, the decision may be grounds for the Court to reconsider
  4   its denial of ALS’s summary adjudication motion against Steadfast. The
  5   decision may also provide useful jury instructions.
  6         Ventura, the content owner, sent zero notices of infringement of its works
  7   to Motherless. Thus, Motherless had no actual knowledge of infringement.
  8   Here, Steve Easton sent 853 notices to Steadfast of infringing content on
  9   imagebam.com, 185 of which pertained to ALS. Thus, Steadfast had ample
 10   actual notice of infringement on imagebam.com, a site that resided on Steadfast
 11   servers.
 12         Motherless did not have constructive knowledge of infringement of
 13   Ventura Content material on its site. There were no watermarks or credits that
 14   would have identified Ventura as the owner of the disputed works. By contrast,
 15   the undisputed evidence is that ALS’s works all bear the ALS Scan trademark
 16   and copyright symbol.
 17         Motherless remained eligible for its safe harbor under 17 U.S.C. § 512(c)
 18   because it scrupulously implemented a policy to terminate repeat infringers. 17
 19   U.S.C. § 512(i). If the proprietor of Motherless received a takedown notice, he
 20   used “hashing” software so that copies of the image or clip would be screened
 21   for any attempts to reupload the same content. He terminated a user if he
 22   received two or more infringement notices about that user.
 23         Here, by contrast, Steadfast received 853 notices of infringement on
 24   imagebam.com, yet did not terminate imagebam.com from Steadfast’s servers.
 25   Steadfast has never terminated a single user for repeat infringement.
 26         The Ninth Circuit says a service provider does adopt and reasonably
 27   implement a repeat infringer policy by terminating a user after two notices. The
 28   Fourth Circuit says a service provider fails to adopt and reasonably implement a

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  1   repeat infringer policy when it receives fourteen infringement notices about a
  2   user and fails to terminate that user. BMG Rights Mgmt. (US) LLC v. Cox
  3   Communs., 149 F.Supp.3d 634 (E.D. Va. 2015), aff’d in part No. 16-1972 (4th
  4   Cir. 2/1/18). How is it, then, that a jury is going to decide whether receipt by
  5   Steadfast of 853 notices of infringement about one of its users, imagebam.com,
  6   was enough to compel Steadfast to terminate services to that user? ALS urges
  7   the Court to reconsider its denial of ALS’s motion for summary adjudication on
  8   Steadfast’s eligibility for safe harbor under Section 512(i).
  9         The Ventura decision has passages that may provide useful instructions
 10   to the jury. First, the defense will use the word “pornography” wherever
 11   possible, seeking to confuse the jury into believe that the term refers to
 12   illegality or content unworthy of legal protection. Also, ALS believes that the
 13   jury will require assistance from the Court to ascertain the parameters within
 14   which courts have found that conduct does constitute material assistance to
 15   infringement. The decision has two useful passages:
 16
 17         “[F]ederal copyright law does not distinguish between pornographic and
 18         non-pornographic works, so the nature of the sexual material that [ALS]
 19         creates . . . is irrelevant.”
 20
 21         “A service provider must delete or disable access to known or apparent
 22         infringing material, as well as material for which he receives a statutorily
 23         compliant takedown notice. He must also terminate repeat infringers
 24         when appropriate. The copyright owner, not the service provider, has the
 25         burden of policing infringement. But the service provider, to maintain
 26         its shield, must respond expeditiously and effectively to the policing.”
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                                  ALS Brief on Ventura v. Motherless
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  1
  2   DATED: March 20, 2018                 SPILLANE LAW GROUP PLC
  3                                         GALLAGHER & KENNEDY, P.A.
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  5
  6                                         By: _____________________________
                                                        Jay M. Spillane
  7                                         Attorneys for Plaintiff ALS Scan, Inc.
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
PLAINTIFF’S BRIEF ON VENTURA CONTENT V. MOTHERLESS will be served or was
served (a) on the judge in chambers in the form and manner required by Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) March 20, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
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Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) March 20, 2018, I served the following persons and/or entities at the last known addresses in this case by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) March 20, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 3/20/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
